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                        DRYNEEDLING and PHYSIO PRODUCTS LLC,
                        PAUL KILLOREN,EDO ZYLSTRA,and AUSTIN
                        WOODS
                                          UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA — SOUTHERN DIVISION


                        INTERNATIONAL CENTER FOR           Case No:
                        INTEGRATIVE MEDICINE,a State of
                        California non-profit corporation, DEFENDANTS KINETACORE
     .1                                                    LLC,US DRY NEEDLING AND
     H
     <•                              Plaintiffs,           PHYSIO PRODUCTS,LLC,PAUL
     >-                                                    KILLOREN,EDO ZYLTRA,AND
                               v.                          AUSTIN WOODS'NOTICE OF
     z                                                     REMOVAL OF CIVIL ACTION
     0                  KINETACORE,a State of Colorado     UNDER 28 U.S.C. §§ 1332, 1441 AND
     H
     H                  Limited Liability Company; US DRY  1446
                        NEEDLING and PHYSIO PRODUCTS,
                        LLC2 a State of Washingon Limited
                        Liability Company;IDRYNEEDLE,a
                        Washington-based company;
                        MEDBRIDGE,INC., a State of
                        Washington corporation; RED CORAL
                        ACUPUNCTURE;
                               U            SUPPLIES PTY
                        LTD,an Australian private company;
                        PAUL KILLOREN;EDO ZYLSTRA;
                        and AUSTIN WOODS,
                                  Defendants.




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                              TO THE JUDGES AND CLERK OF THE UNITED STATES DISTRICT
                              COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA —
                              SOUTHERN DIVISION:
                                    PLEASE TAKE NOTICE that Defendants KINETACORE,LLC,US
                              DRY NEEDLING AND PHYSIO PRODUCTS,LLC,sometimes doing business
                              as IDRYNEEDLE,PAUL KILLOREN,EDO ZYLSTRA,and AUSTIN WOODS
                             (collectively "Defendants") hereby remove this civil action from the Superior
                              Court of the State of California for the County of Orange, to the United States
                              District Court for the Central District of California — Southern Division.
                              Defendants' removal is based upon 28 U.S.C. §§1332(a) and 1441 because there is
                              complete diversity of citizenship between Plaintiff International Center for
                             Integrative Medicine ("Plaintiff'), on the one hand, and each and every Defendant
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                              on the other, and the matter in controversy exceeds the sum of $75,000, exclusive
                              of interest and costs.
                                    In support of this Notice of Removal, Defendants further state:
                                    1.     On February 17, 2016, Plaintiff obtained a Temporary Restraining
                              Order and Order to Show Cause Re: Preliminary Injunction, based upon an
                              operative Amended Complaint for Declaratory and Injunctive Relief filed in the
                              Superior Court of the State of California for the County of Orange. The operated
                              Amended Complaint is styled International Centerfor Integrative Medicine, a
                             State ofCalifornia non-profit corporation, Plaintiffvs. Kinetacore, a State of
                              Colorado limited liability company; US Dry Needling and Physio Products LCC, a
                             State of Washington limited liability company;IDryNeedle; Medbrige, Inc., a State
                             of Washington corporation; Red Coral Acupuncture Supplies PTY LTD, an
                             Australian private company; Paul Killoren, an individual and resident ofthe State
                             of Washington; Edo Zylstra, an individual and resident ofthe State ofMichigan;
                             and Austin Woods, an individual and resident ofthe State of Washington,
                             Defendants. The Amended Complaint bears Orange County Superior Court Case
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                              Number 30-2016-008-35053-CL-MC-CJC. The Amended Complaint asserts
                              causes of action for 1) Defendants lack any legal authority to insert acupuncture
                              needles — Declaratory Judgment; and 2)The Pharmacy Act does not allow
                              Defendants to give away, sell, or otherwise furnish acupuncture needles —
                              Declaratory Judgment. Copies ofthe Complaint, Amended Complaint and TRO
                              with supporting documentation and exhibits, which comprise all the documents
                              ultimately served on Defendants and filed in the Superior Court, are attached
                              hereto as Exhibit "A".
                                     2.    Plaintiff made multiple attempts to serve Defendants with the
                              Complaint, Amended Complaint and TRO. However, Plaintiff was unable to
                              effectuate proper service on any Defendant. On March 23, 2016, Plaintiff mailed a
                              Notice and Acknowledgement of Receipt to counsel for Defendants Kinetacore,
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                              US Dry Needling and Physio Products, LLC sometimes d/b/a IDryNeedle, Paul
                              Killoren, Edo Zylstra, and Austin Woods. A signed copy ofthe Notice and
                              Acknowledgement is attached hereto as Exhibit "B". Counsel for the Defendants
                              executed and returned the Notice and Acknowledgment to Plaintiff on April 11,
                             2016.
                                     3.   Plaintiff and Defendants jointly filed a Stipulation Continuing the
                              Hearing on Preliminary Injunction and Setting Briefing Schedule with the Orange
                              County Superior Court on March 17, 2016. A copy of the Stipulation with Proof
                             of Service is attached hereto as Exhibit "C".
                                     4.    The Complaint, Amended Complaint, and TRO assert claims arising
                             out of alleged violations by Defendants of California public health and safety laws
                             regarding acupuncture and physical therapy. These claims center on a physical
                             therapy conference which occurred at the Anaheim Convention Center from
                             February 17 through 20, 2016. Plaintiff seeks to permanently enjoin Defendants
                             from selling, either in-person or online, or otherwise furnishing or marketing any
                             of Defendants' products and services, including physical therapy training services
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                            and the sale of Myotech Dry Needles, at any time, in the State of California,
                            including but not limited to the conference.
                                   5.      Based on the allegations of the pleadings, Defendants are informed
                            and believe that Plaintiff is and was at the time of filing ofthis action and ofthis
                            Notice of Removal, a California non-profit organization, with its principal place of
                             business in Oakland, California.[See Amended Complaint at ¶ 16]
                                   6.      At the time ofthe filing of the pleadings and this Notice of Removal,
                             defendant Kinetacore, LLC is and was a limited liability company organized under
                            the laws of the State of Colorado, with its principal place of business in Brighton,
                             Colorado. The sole member of the Kinetacore LLC is defendant Edo Zylstra, an
                            individual whose citizenship and place ofresidence is the State of Michigan. The
                            citizenship of a limited liability company is determined by the citizenship of its
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                             members. See Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899(9th
                             Cir. 2006).
                                   7.      At the time ofthe filing of the pleadings and this Notice of Removal,
                             defendant US Dry Needling and Physio Products LLC,sometimes d/b/a
                            IDryneedle, is and was a limited liability company organized under the laws of
                             Washington, with its principal place of business in Kirkland, Washington. The
                             members of US Dry Needling are defendant Edo Zylstra, a citizen and resident of
                            the State of Michigan, defendant Paul Killoren, a citizen and resident ofthe State
                             of Washington, defendant Austin Woods, a citizen and resident of the State of
                             Washington, Michael Killoren, a citizen and resident of the State of Wisconsin,
                             and David Vanderploeg, a citizen and resident ofthe State of Wisconsin.
                                   8.      At the time ofthe filing of the pleadings and this Notice of Removal,
                             defendant IDryneedle was a "DBA" of defendant US Dry Needling. The
                             citizenship and principal place of business ofIDryneedle is irrelevant for purposes
                             of establishing complete diversity of citizenship. See Frith v. Blazon-Flexible
                            Flyer, Inc., 512 F.2d 899,900(5th Cir. 1975).
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                      1         9.     At the time of the filing of the pleadings and this Notice of Removal,
                      2 Defendants are informed and believe that defendant Medbridge, Inc., is and was a

                      3 corporation incorporated under the laws of the State of Washington, with its

                      4 principal place of business in Seattle, Washington. However, Medbridge, Inc. was

                      5   dismissed with prejudice from this action on March 3, 2016.
                      6          10.   At the time of the filing of the pleadings and this Notice of Removal,
                      7 defendant Red Coral Acupuncture Supplies PTY,LTD is and was a foreign

                      8 company organized under the laws of Australia. Defendants are informed and

                      9 believe that Plaintiff has never served defendant Red Coral.

                 10              11.   As noted above, defendant Zylstra is a citizen and resident of the State
 a.4             11       of Michigan, and defendants Woods and Killoren are citizens and residents of the
                 12 State of Washington.

                 13              12.   Pursuant to 28 U.S.C. § 1441(b), diversity suits are removable "if
                 14 none of the parties in interest properly joined and served as defendants is a citizen
       TORNE)




                 15 of the State in which such action is brought." Here, none ofthe named Defendants

                          is a citizen of the State of California.
                                 13.   The amount in controversy in this action is in excess of $75,000,
                 18 exclusive of interests and costs. Plaintiff seeks to permanently enjoin Defendants

                 19 from the marketing and sale of dry needles, physical therapy training courses, and

                 20 other products and services in the State of California. The value ofthese products

                 21       and services is in excess of$500,000, and Defendants would be injured in an
                 22 amount no less than $500,000 should Plaintiff succeed in its claims.

                 23              14.   This, therefore, is a civil action of which this Court has original
                 24 jurisdiction under 28 U.S.C. §1332(a), and is one that may be removed to this

                 25       Court by Defendants pursuant to 28 U.S.C. §§ 1441 and 1446, in that there is
                 26 complete diversity of citizenship between Plaintiff on the one hand, and

                 27 Defendants on the other, and the matter in controversy exceeds the sum of

                 28 $75,000, exclusive of interest and costs.
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                                    15.    Furthermore, this Notice of Removal is timely filed pursuant to 28
                              U.S.0 § 1446(b) which provides that, "[t]he notice of removal of a civil action or
                              proceeding shall be filed within thirty days after the receipt by the defendant,
                             through service or otherwise, of a copy of the initial pleading setting forth the
                              claim for relief upon which such action or proceeding is based..." In order to
                             trigger the thirty-day removal period, receipt of the summons and complaint must
                              be by proper service. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526
                              U.S. 344, 354(1999). The earliest service of the pleadings was properly
                              effectuated on Defendants was March 23, 2016. Removal is timely.
                                    16.    Pursuant to 28 U.S.0 § 1446(d), a copy of this Notice of Removal is
                              being filed with the Clerk ofthe Orange County Superior Court.
                                    17.    Pursuant to 28 U.S.0 § 1446(d), Defendants are providing this Notice
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                              of Removal to Plaintiff.
                                    WHEREFORE,Defendants KINETACORE,LLC,US DRY NEEDLING
                              AND PHYSIO PRODUCTS,LLC,sometimes d/b/a IDRYNEEDLE,PAUL
                             KILLOREN,EDO ZYLSTRA,and AUSTIN WOODS hereby remove this action
                             from the Superior Court of California for the County of Orange,to the United
                              States District Court for the Central District of California — Southern Division.
                             Defendants request that this Court exercise jurisdiction over all further proceedings
                             in this action.
                             DATED: April 19, 2016              SELMAN BREITMAN LLP



                                                                By: /s/ Matthew C. Elstein
                                                                    MATTHEW C. ELSTEIN
                                                                    LORRIE A. WALKER
                                                                Attorneys for Defendants KINETACORE,LLC,
                                                                US DRYNEEDLING and PHYSIO PRODUCTS
                                                                LLC,PAUL KILLOREN,EDO ZYLSTRA,and
                                                                AUSTIN WOODS


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